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                                                   UNITED STATES BANKRUPTCY COURT
                                                           District of New Jersey
In re:                                                                                :         Case no.:        11-13085
            Pennsylvania PET Associates, LLC                                          :
                                                                                      :         Chapter:         11
                                                                                      :
                                                                                      :         Judge:            Novalyn L. Winfield
                                                                   Debtor(s)          :
                                                                                      :

                                                      AMENDMENT TO SCHEDULE D, E or F
                                                           or LIST OF CREDITORS

Please specify the List or Schedule(s) to be amended:

                       Schedule D - Creditors holding secured claims
                       Schedule E - Creditors holding unsecured priority claims
                       Schedule F - Creditors holding unsecured claims
                       List of Creditors (Matrix)



The schedule or list indicated above, having been previously filed, is amended as follows:
(List creditors being added or deleted and indicate same; please use separate sheet if necessary)




I hereby certify under penalty that the above information is correct:

Dated:       February 18, 2011                                  Debtor's signature:       /s/ Ronald J. Lissak



Submit original and $26.00 fee.


If new creditors are being added as the result of this amendment, you must attach a matrix containing only those creditors
being added.




                                                                                                                                   Rev. 03/04

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